     Case 8:22-cv-00099-DOC-DFM Document 160-1 Filed 03/02/22 Page 1 of 2 Page ID
                                      #:1994


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     Counsel for the Congressional Defendants
10
11                          UNITED STATES DISTRICT COURT
12
                          CENTRAL DISTRICT OF CALIFORNIA
13
                                   SOUTHERN DIVISION
14
        JOHN C. EASTMAN                         Case No. 8:22-cv-00099-DOC-DFM
15

16                 Plaintiff,                   DECLARATION OF DOUGLAS N.
                                                LETTER IN SUPPORT OF
17      vs.                                     CONGRESSIONAL DEFENDANTS’
                                                OPPOSITION TO PLAINTIFF’S
18      BENNIE G. THOMPSON, et al.,             PRIVILEGE ASSERTIONS
19
                   Defendants.                  Date:     March 8, 2022
20                                              Time:     9:00 a.m.
                                                Location: Courtroom 9D
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                        DECLARATION OF DOUGLAS N. LETTER
     Case 8:22-cv-00099-DOC-DFM Document 160-1 Filed 03/02/22 Page 2 of 2 Page ID
                                      #:1995


 1 I, Douglas N. Letter, declare as follows:
 2         1.    I am the General Counsel, of the U.S. House of Representatives and counsel
 3 for the Congressional Defendants in this action.

 4         2.    I make this declaration in support of the Congressional Defendants’
 5 Opposition to Plaintiff’s Privilege Assertions.
 6         3.    Attached hereto as Exhibit 1 are true and accurate copies of email messages
 7 between myself and Plaintiff’s counsel, Charles Burnham, that occurred on Monday,
 8 January 31, 2022 at 4:06p EST, Thursday, February 3, 2022 at 7:13p EST, and Tuesday,
 9 February 8, 2022 at 3:05p EST.

10         I declare under penalty of perjury that the foregoing is true and correct, to the best
11 of my knowledge.
12
13 Executed on March 2, 2022, in Bethesda, Maryland.
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                                                          /s/ Douglas N. Letter
                                                          Douglas N. Letter
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                         DECLARATION OF DOUGLAS N. LETTER
